                  Case 01-01139-AMC                 Doc 21763-10             Filed 05/20/09              Page 30 of 474
                                                                                              Page 1 of 29

non-voting preferred shares with co,on stock-like features to effect
acquisitions or other transactions in the future. See "DESCRIPTION OF CAPITAL
STOCK OF FRESENIUS MEDICAL CARt -- FMC Preferred Shares."

  DEPENDENCE ON pHYSICIAN AND OTHER REFERPJ~L$

     The provider business of Fresenius Medical Care will be dependent upon
referrals of dialysis patients by physicians specializing in nephrology who
practice in the Co~unitles served by Frese~ius Medical Cafe’s dialysis centers.
At most ee~ters, a few physicians account for all Or a significant portion of
the patient referral base, and such physicians may move their patients to
competing centers at any time, including centers established by such physicians.
The loss of a significant nu[i~er of referring physicians at Fresenius Medical
Cafe’s centers could have a material adverse effect on the operations of those
centers and could materially adversely affect Fresenius Medical Cafe’s overall
operations. Fresenius Medical Cafe’s operations are also affected by referrals
from hospitals, managed care plans and other sources. Financial arrangements
with physicians and other referral sources in the U.S. and many other countries,
and decisions with respect to purchases of supplies, are highly regulated. NMC
is the subject of a government investigation with respect to these matters in
the U.S. See "BUSINESS OF FRESENIUS MEDICAL CARE -- Regulatory and Legal
Matters -- Legal and Regulatory Proceedings      OIG Investigation." The decision
to purchase Fresenius Medical Care or competing dialysis products will be made
by medical directors ("Medical Directors") and other referring physicians at
Ereseni~s Medical Care centers and by the managing medical personnel add
referring physicians at other centers. A decline in physician reco~a%endations
and~or purchases of Fresenius Medical Care products Could materially adversely
affect the business and operations of Fresenius Medical Care. See "BUSINESS OF
FRE$ENIUS MEDICAL CARE -- Business of N~4C      DSD Operations" and
-__ Competition."

  INTERNATION~L OPERATIONS

     Fresenius Medical Care intends to expand its international presence. A~ a
result, Fresenius Medical Care expects that revenues from countries other than
the U.S. and Germany will account for an increasing portion of f~t~re revenues.

                                         22
<PAGE>   47

     Revenues from international operations are subject to a number of risks,
including the following: fluctuations in exchange rates could adversely affect
profitability; agreements may be difficult to enforce and accounts receivable
difficult to collect under certain countries’ legal systems; local regulations
may restrict Fresenius Medical Cafe’s ~bility to obtain a direct ownership
interest in dialysis centers or other operations; l~ck of governmental funding
may li~it the demand for Fresenius M~dical Cafe’s services and products; certaln
customers and governments may have longer payment cycles; and some countries
could i~pose additional withholdi~q taxes or otherwise tax Frese~i~s Medical
Cafe’s income, impose tariffs or adopt other restrictions on foreign trade
affecting Fresenius Medical Care products. There can be no assurance that these
factors will not have a material adverse effect on Fresenius Medical Care’s
business~ financial position and results of operations. See "BUSINESS OF
FRESENIUS MEDIC~kL C~,E -- Strategy" and ,,    Business of N~4C -- DSD
Operations      International Dialysis Services."

RISKS RELATING TO REGUIJ~TORY MATTERS

  pENDING INVESTIGATIONS

      7n October 1995, NMC received five investigatory subpoenas from the Office
of the Inspector General ("OIG") of the Department of Health and Human Services
 (-HHS"). The subpoenas call for the production of extensive documents and were
issued in conjunction with an investigation being conducted by the OIG, the U.S.
Attorney for the District of Massachusetts and others concerning possible
violations of federal laws relating to health care pa~ents a~d reimbursements
 {the "OIG Investigation"). NMC is cooperating with the OIG Investigation and has
made and expects to continue to make extensive document production in response
to the subpoenas. The results of the OIG Investigation and its i~pact, if any,
C~ot be predicted at this time. However, the costs of responding to the
government’s requests are substantial and the pendency of, and any adverse
resolution of, the OIO Investigation could have an adverse effect on Freseni~s
Medical Cafe’s reputation, including, among other things, its relationships in
the medical co,unity. In the event that a U.S. government agency or a state
agency believes that any wrongdoing has occurred, civil a~d/or criminal
proceedings could be instituted and if such proceedings were to be instituted
and the outcome were to be unfavorable, NMC or one or more of its subsidiaries
could be excluded from government reinlb~rse~ent programs or have their payments
suspended. Such result would have a material adverse effect on the business,
financial position and results of operations of NMC a~d Fresenius Medical Care.
In addition, in the event that a U.$. goverrs~ent or state ~gency attempts to
recover a significant a~o~Nt of revenues of N~C for prior periods which such
agency believes were improperly received, Fresenius Medical Care could s~ffer a
~aterial adverse effect on its business, financial conditio~ snd results of
operations. In this regard, it should be noted that applicable laws authorize
the imposition of penalties of significant magnitude even if the underlying
claim is for a relatively i[~laterial amount. Further, any restrictions on NMC’S
future operations resulting from the resolution of the OIG I~vestig8tion could
adversely affect Fresenius Medical Cafe’s profitability in future periods. In
addition, any or all of the subjects of the OIG Investigation could be the
subject of civil claims by private parties, such as patients or insurers or
other private payors, seeking to recoup pa~ents ~ade to NMC, or seeking other
remedies, including, without limitation, suspension or exclusion from
 rei~foursement programs and punitive damages. Such claims, if adversely




http://edgar.sec.gov/Archives/edgar/dated42872/OOOO950123-96-OO4024.txt                                       5/19/2009
                 Case 01-01139-AMC                  Doc 21763-10            Filed 05/20/09              Page 31 of 474
                                                                                             Page 2 of 29

determined, could have ~ material adverse effect on Fresenius Medical Care’s
business, financial position and results of operations. This matter is discussed




                                        24




http://edgar.sec.gov/Archives/edgar/data/42872/O000950123-96-004024.txt                                      5/19/2009
                  Case 01-01139-AMC                  Doc 21763-10            Filed 05/20/09              Page 32 of 474
                                                                                              Page 3 of 29

     Any inability to obtain material required licenses, certifications, or
other approvals, or significant delays in obtaining such items, loss of any
significant licenses and certifications required to operate, or termination of
Fresenius Medical Cafe’s authorization to participate in the Medicare or
Medicaid programs under the laws of any other governmental authority from which
a substantial portion of its revenues is derived, would have a material adverse
effect on the business, financial position and results of operations of
Fresenlus Medical Care. See "BUSINESS OF FRESENIUS MEDICAL CARE -- Regulatory
and Legal Matters."

  RISKS RELATING TO FDA ~IATTERS

      The FDA is the U~S. agency that regulates the testing, manufacturing and
marketing of medical products and supplies. From 1991 through 1993, the FDA
issued warning letters concerning four of NrMC’S six renal products division
 (’}RPD") facilities in the U.S., as well as import alerts concerning hemodialysis
bloodlines manufactured a~ NMC’s Reynosa, Mexico facility and Focus(R) brand
hemodialyzers manufactured at NMC’S Dublin, Ireland facility. Under the import
alerts, NMC was prohibited from importing the products covered by the alerts
into the U.S. ~Ntil the FDA conflrmed compliance with Good Manufacturing
Practices {"GMP"} at the facilities where such products were manufactured. In
January 1994, NMC and certain menlbers of its se~lor management entered into a
consent decree providing, among other things, for the terms upon which such
import prohibition would be lifted (the "Consent Decree"). As a result of the
warning letters and the Consent Decree, NMC’S U.S. facilities were required to
undertake significant GMP improvements, but production continued at all U.S.
facilities. Violation of the Co~sent Decree could result in civil.enforcement
actions, such as seizure and injunctive actions; a~i~istrative proceedings,
such as civil penalties and mandatory recalls; and/or criminal coNteNpt
proceedings, any of which could have a material adverse effect on FreseNi~s
Medical Cafe’s business, financial position and results of operations. See
"BUSINESS OF FRESENIUZ MEDICAL C~JRE      Regulatory and Legal Matters -- Legal and
Regulatory Proceedings."

  DEPENDENCE ON GOVERN~NT REI~URSEMENT

     A significant portion of FreseNius Medical Cafe’s revenues will be derived
directly or indirectly from reimbursement payments received under the Medicare
and Medicaid programs. For example, in 1995 approximately 62% of NMC’s total net
revenues, including approximately 62% of the revenues of DSD, approximately 78%
of the revenues of LifeChem, and approximately 50% of the revenues of NMC
Homecare, resulted from Medicare and Medicaid rei~lbursemeNt. In addition, a
significant portion of the net revenues of Fresenius USA and RPD are derived
from Medicare, either indirectly by selling renal products to dialysis centers~
which in turn seek Medicare reimbursement, or by furnishing products to patients
receiving treatment at home and directly seeking Medicare reind]~rsement.

      Reimbursement under the Medicare program for ChrOnic dialysis services
provided to ESRD patients at N~IC’S dialysis centers is paid in accordance with a
payment methodology cor~oDly referred to as the composite rate method (the
.,Composite Rate"). All Medicare reimbursement rates, including the Composite
Rate, Medicare rates for other dialysis-related services such as the
administration of Erythropoietin ("EPO"), and Medicare rates for other services
provided by Fresenius Medical Care, as well as the scope of Medicare coverage,
are subject to legislative change as a result of deficit reduction and other
measures. Deficit reduction measures have resulted in reiz~ursement rate
reductions in the past and may result in further rate reductions in the future.
Congress is actively considering proposals to reduce materially the ~mounts
spent under the Medicare and Medicaid programs. Medicare has also recently
proposed a new policy restricting coverage for clinical laboratory tests
furnished to dialysis p~tients. A change in Medicare rates or other terms and
conditions of Medicare and Medicaid rei~bursement could have a material adverse
effect ON the business, financial position a~d results of operations of
Fresenius Medical Care as would the result of a regulatory proceeding or
investigation excluding NMC or one or more of its subsidiaries from
participating in the Medicare reimbursement program. See "BUSINESS OF FRESENIUS
MEDIC~L CARE      Regulatory and Legal Matters   Reii~bursement."

                                         25
<PAGE>   50

  POTENTIAL LOSS OF IDPN REIMBURSEMENT

     AS discussed under "BUSINESS OF FEESENIU$ MEDICAL CARE -- Regulatory and
Legal Matters - Reimbursement - U.S. -- iDPN," the number of claims by NMC
Homecare for reimbursement relating to the administration of INtradialytic
Parenteral Nutrition ("IDPN"} that have been approved by Medicare has been
sharply reduced since late 1993. UNder the Medicare parenteral and E~teral
Nutrition {"PEN") program N~IC believes that the reduction in IDPN claims paid by
Medicare represents a~ unauthorized coverage policy change. Accordingly, NMC is
p~rsuing v~rlous administrative and legal avenues, including legal action for
injunctive and declaratory relief and a[t~inistrative appeals, to address this
problem. No assurance can be Qiven that N~C will prevail i~ pursuing such
remedies or that the claims on appeal will be approved for payment.

     Medicare claims are processed by private companies under co~tract with the
federal government. In April 1996, the Medicare claims processors issued a ~ew
Coverage policy, which is effective for services billed on and after July l,
1996. While the new policy permits continued coverage of PEN therapies,
including IDPN therapy, and while the potential impact of the new policy is
subject to further analysis, NMC believes that the New policy will make it
substantially more difficult to qualify patients for future coverage by, among
other things, requiring certain patients to undergo onerous and/or invasive
tests in order to qualify for coverage. The new policy also eliminates all




http://edgar.sec.gov/Archives/edgar/data/42872/O000950123 -96-O04024.txt                                      5/19/2009
                  Case 01-01139-AMC                 Doc 21763-10             Filed 05/20/09              Page 33 of 474
                                                                                              Page 4 of 29

reimbursement for infusion pumps used to a~inister IDPN therapy. NMC, together
with other interested partiest may seek to effect certain changes in the new
policy, other than with respect to the elimination of reimbursement for infusion
pumps, and NMC has developed changes to its patient qualification procedures in
order to comply with the policy. However, if NMC is unable to effect changes in
the new policy, or, if NMC is unable to change its operating procedures to
conform to changes in the new policy, if physicians and patients fail to accept
the new qualification procedures and/or if patients fail to qualify under such
procedures, the policy could significantly reduce the number of patients
eligible for Medicare coverage of IDPN and other PEN therapies, which would have
a material adverse effect on NMC’s financial position and results of operations.
IDPN claims represent substantial accounts receivable of k~C Homecare
 (approximately $103 million as of March 31, 1996, with the receivables
increasing at a rate of approximately $6 million per month) and substantially
all of NMC Homecare’s operating income in recent quarters. The new policy
eliminates reimbursement for infusion pumps, which may adversely impact revenue
by approximately $ii million on an annualized basis. For purposes of financial
and operational planning, NMC estimates that as much as 50% of NMC’s current
patient level may no longer qualify for continued IDPN coverage under the new
policy, which would adversely impact revenues by up to $42 million annually.

      If NMC is unable to collect its IDPN accounts receivable, or if IDPN/PEN
coverage is reduced or eliminated, Fresenius Medical Cafe’s business, financial
position and results of operations could be materially adversely affected. The
use of IDPN by ~[MC and certain of its billing practices related to IDpN are also
a subject of the OIG Investigation. See "BUSINESS OF FRESENIUS MEDICAL
C~J~E -- Regulatory and Legal Matters - Reimbursement" and "-- Legal and
Regulatory Proceedings," and "M~tNAGEMENT’S DISCUSSION AND ANALYSIS OF FINANCIAL
CONDITION AND RESULTS OF OPERATIONS -- NMC."

  RISKS RELATING TO OBRA 93 DISPUTE

     The omnibus Budget Reconciliation Act of 1993 ("OBRA 93") amended the
statutory ESRD Medicare Secondary Payor ("MSp") provisions affecting the
coordination of benefits between Medicare and employer health plans in the case
of ESRD patients age 65 and over who are eligible for Medicare and also covered
by an employer health plan ("dual eligible ESRD patients"). The vast majority of
h~C’s patients affected by this amenchnent were retirees eligible for Medicare on
the basis of age who subsequently became eligible for Medicare on the basis of
ESRD and whose employer group health plan had been the supplemental payor to
Medicare. The original implementation of this provision of OBRA 93 by the Health
Care Financing Adalinistration ("HCFA") of HHS, which administers the Medicare
and Medicaid programs, required all employer health plans to recognize a new
18-month coordination of benefits period during which such

                                         26
<PAGE>   51

employer health plans would be the primary payors for dialysis treatment for
such dual eligible ESRD patients. Under that interpretation, primary Medicare
coverage begins only after the 18-month Coordination of benefits period, even if
Medicare was the primary payor for an affected retiree before EZRD entitlement
arose. Upon implementation of these OBP~ 93 provisions with respect to dual
eligible ESRD patients, NMC adopted a procedure for rebilling private payors for
certain amounts previously billed to Medicare and crediting Medicare with an
overpayment. NMC’s treatment of the overpayments relating to implementation of
OB~K 93 is a subject of the OIG Investigation. See "BUSINESS OF FRESBNIUS
MEDICAL CARE -- Regulatory and Legal Matters --Legal and Regulatory
Proceedings."

     On April 24, 1995, HCFA reversed its original interpretation of the OBP~A 93
provisions by taking the new position that primary Medicare coverage begins
i[~nediately (rather than after an 18-month coordination of benefits period) in
the case of individuals who are already age eligible for Medicare when ESRD
anti{lament arises. HCFA proposed that the reversal be effective retroactively
for services provided after August i0, 1993, the effective date of OBP~A 93. On
May 5, 1995, NMC filed a complaint in the U.S. District Court for the District
of Columbia seeking to preclude HCFA from enforcing its new policy. NMC moved
for a preliminary injunction to preclude HCFA from enforcing its new policy
retroactively (i.e., to billings for services provided between August i0, 1993
and April 23, 1995), which injunction was granted on June 6, 1995. The
litigation is continuing with respect to NMC’s request to enjoin HCFA’S new
policy, both retroactively and prospectively, on a permanent basis. Pending the
outcome of the litigation, HCFA’s new policy remains effective for services
provided after April 23, 1995. See "BUSINESS OF FRESENIUS MEDICAL
CARE - Regulatory and Legal Matters -- Legal and Regulatory Proceedings."

     HCFA’S initial interpretation of the MSP provisions of OBP~A 93 had a
positive impact on DSD’S revenues because during the 18 month coordination of
benefits period, the employer health plan was responsible for payment at its
negotiated rate or, in the absence of such a rate, at NMC’S usual and Customary
rate (which is generally in excess of the Medicare rate). If HCFA’s retroactive
implementation of its revised interpretation of OBF~A 93 is upheld, NMC may be
required to refund the payments received from employer health plans for services
provided after August i0, 1993 under HCFA’S original implementation and to
rebill Medicare for the sa~e services, which would result in a net loss to NMC
of approximately $120 million as of December 31, 1995. ~s of July l, 1995, NMC
ceased to recognize the incremental revenue realized under the original
implementation, but continued to bill employer health plans as primary payors
until December 31, 1995. If HCFA’s revised interpretation is upheld, NMC’s and
Fresenius Medical Care’s business, financial position and results of operations
would be materially adversely affected, particularly if the revised
interpretation is applied retroactively. See "MANAGEMENT’S DISCUSSION AND
ANALYSIS OF FINANCIAL CONDITION AND RESULTS OE OPERATIONS -- NMC" and "BUSINESS




http://edgar.sec.gov/Archives/edgar/data/42872/OOOO950123-96-OO4024.txt                                       5/19/2009
                  Case 01-01139-AMC                  Doc 21763-10                Filed 05/20/09              Page 34 of 474
                                                                                                  Page 5 of 29

OF FRESENIUS MEDICAL C~E -- Regulatory and Legal Matters."

  RISKS RELATING TO NON-GOVERNMENTAL PAYORS

      Fresenius Medical Care derives a significant portion of its revenues from
reimbursement provided by Non governmental third-party payors in the U.S. A
substantial portion of third party health insurance is now furnished through
some form of managed care, including health maintenance organizations ("HMOS").
Managed care plans are increasing their market share, and this trend may
accelerate as a result of the consolidation in the health care industry as well
as the interest of meters of Congress and the executive branch in ways to
increase the number of Medicare and Medicaid beneficiaries served through
managed care plans.

     Reimbursement by noD-governmental payors is generally at higher rates than
reimbursement by governmental payors such as Medicare. However, managed care
plans are becoming more aggressive in selectively contracting with a smaller
number of health care providers willing to furnish services for lower rates and
subject themselves to a variety of service restrictions~ For exaglple, managed
care plans and traditional indemnity third-party payors are increasingly
demanding alternative fee structures, such as capitation, pursuant to which a
health care provider receives a fixed payment per month per enrollee and bears
the risk of loss if the costs of treating such enrollee exceed the capitation
payY~ent. These market-driven changes are

                                          27
<PAGE>   52

creating significant downward pressure on the reir~bursement ~[MC receives for
services and products, particularly at N~4C Homecare.

     AS managed care programs increase market share and gain greater bargaining
power vis-a-vis health care providers, there will be increasing pressure to
reduce the mounts paid for services and products furnished by Fresenius Medical
Care. These trends will be accelerated if future changes to the Medicare ESKD
program require private payors to assume a greater percentage of the total cost
of care given to dialysis patients over the term of their illness. Although
Fresenius Medical Care intends to seek to increase the portion of its revenues
attributable to non governmental private payors, the historically higher rates
of reimbursement paid by no~-governmeDtal payors may not be maintained at such
levels. FO~ example, with respect to ho~ecare services, managed care programs
are currently providing levels of reimbursement below those of Medicare. If
substantially more patients of Fresenius Medical Care join managed care plans or
such plans reduce rei~bursemeDts, Fresenius Medical Cafe’s b~siness, fiha~cial
position and results of operations could be materially adversely affected. See
"BUSINESS OF FRESENIUS MEDICAL CARE -- Regulatory and Legal Matters       Legal and
Regulatory Proceedings" and "     Changes in the Health Care Industry," and
"PL~NAGEMENT’S DISCUSSION AND /~NALY$1S OF FINANCIAL CONDITION 7LED RESULTS OF
OPEP~ATIONS -- NMC."



  EFFECTS OF INDEBTEDNESS

     After the Reorganiz@tion and as a result of the incurrence of debt under a
new credit agreement to be entered into by NMC (the "NMC Credit Agreement") and
the making Of the Distribution Payment, NMC (and, therefore, Fresenius Medical
Care, on a consolidated basis) will have substantial debt. Assuming the
Reorganization had bee~ CONS~s~ated as of March 31, 1996, on a pro forms basis,
Fresenius Medical Care would have had consolidated total debt of approximately
$2.224 billion and consolidated total shareholders’ equity of $1.695 billion as
of such date, resulting in a consolidated ratio of total debt to equity of
approximately 1.31 to i. On a pro forma basis, assigning the Reorganization had
been consummated as of January I, 1995, FreseDius Medical Care would have had
coverage ratios of earnings before interest, taxes, depreciation and
amortization ("EBITDA") to interest expense of approximately 2~98 to 1 for the
year ended Decer~ber 31, 1995 and 3.17 to 1 for the three months ended March 31,
1996. Included are $41,693 and $10,268, respectively, of depreciation and
amortization classified as cost of sales and selling, general and administrative
expenses in the Fresenius Worldwide Dialysis Combined Financial Statements. See
"FRESENIUS MEDICAL CARE AG UNAUDITED PRO FORMA CONDENSED COMBINED FINANCIAL


     NMC will have significant interest expense and principal repa~ent
obligations under the NMC Credit Agreement. While management of Fresenius
Medical Care believes that such obligations will be paid as they become due, if
NMC’S operating cash flow is not sufficient to satisfy its cash requirements,
includi~g debt service, Fresenius Medical Care may be required to supplement
NMC’S operating cash flow, or Freseni~s Medical Care and/or NMC may be re~ired
to effect capital spending reductions or limit or defer acquisition and
expansion plans. There can be no assurance that Fresenius Medical Care would
supplement NMC’S cash flow or would do so in an amount sufficient to satisfy the
cash requirements of NMC.

     The k~4C Credit Agreement is expected to include certain covenants which,
among other things, may restrict or have the effect of restricting the ability
of NMC and its s~bsidiaries to dispose of assets, incur debt, pay dividends,
create liens or m~ke capital expenditures, investments or acquisitions, and
which may otherwise limit activities of NMC and its subsidiaries. The NNC Credit
Agreement also is expected to include certain covenants that will require NMC to
maintain certai~ financial ratios. The breach of any of the covenants could
result in a default under the NMC Credit Agreement. See "FINANCING." AS
described under "BUSINESS OF FRESENIUS MEDICAL C~/~E -- Regulatory and Legal
Matters      Legal and Regulatory Proceedings - OIG Agreements", NMC has agreed




http://edgar.sec.gov/Archives/edgar/data/42872/0000950123 -96-004024.txt                                          5/19/2009
                  Case 01-01139-AMC                  Doc 21763-10               Filed 05/20/09              Page 35 of 474
                                                                                                 Page 6 of 29

to deliver to the United States a letter of credit in the principal amount of
$150 million in connection with the OIG investigation.

     In connection with the NMC Credit Agreement, Grace Chemicals has agreed to
guarantee Facility 3 (which provides for a maximum Of $500 million of available
credit) and Facility 2 up to a maximum of

                                         28
<pAGE>   53

$450 million. The NMC Credit Agreement is expected to provide that these
guarantees will be released as to $800 million upon the Occurrence of certain
events after 45 days, but within 60 days, following the Effective Date,
including (~) the receipt of an unconditional joint and several guarantee from
Fresenius Medical Care and certain of its subsidiaries for the full amount of
the NMC Credit Facility; or (b) the receipt of a letter of credit or other
acceptable financial accommodation for the account of Grace Chemicals or
Fresenius Medical Care in form and substance satisfactory to the Lenders; Or
a prepayment in certain specified amounts under the NMC Credit Facility. If such
guarantees are not released within 60 days following the Effective Date, demand
for payment will be made on Grace Chemicals under such guarantees as to $800
million. It is the intention of Fresenius Medical Care to provide the
unconditional joint and several g~arantees referred to in the preceding sentence
in a manner so as to cause the release of Grace Chemicals’ guarantees as to $800
million not before 46 days, but on or prior to 50 days, following the Effective
Date. However, no assurance can be given that such guarantees will be provided
Or that either or both of Grace Chemicals’ guarantees will be released. In the
event that Fresenius Medical Care does not provide such guarantees or otherwise
effect the release of the Grace Chemicals guarantees as to $800 million, Grace
Chemicals would be required to provide the letters of credit or repay the
amounts specified i~ the NMC Credit Agreement and, thereafter, be subrogated to
the rights of Lenders with respect to such repaid amounts after the Lenders
under the respective facilities have been repaid in full; and Grace Chemicals
has undertaken to the Lenders to maintain unused available credit in an amount
to be determined while the Grace Chemicals guarantees are outstanding in order
to facilitate such actions. In connection with Grace Chemicals’ agreement to
extend guarantees under the NMC Credit Agreement, Fresenius Medical Care and
Grace Chemicals intend to enter into an agreement to induce Fresenius Medical
Care to cause such guarantees to be released as to $800 million Not later than
the 50th day following the Effective Date. The balance of the Grace Chemicals
guarantees under Facility 2 will be released upon NMC (or Fresenius Medical
Care, if Fresenlus Medical Care guarantees the NMC Credit Facility), on a
consolidated basis, achieving a ratio of senior debt to EBITDA of equal to or
less than 3.5. See "FINANCING -- NMC Credit Agreement."

  CERTAIN U.S. T~X CONSIDERATIONS R£LATED TO THE DISTRIBUTION

      Prior to the Distribution, the stock of NMC will be distributed by Grace
Chemicals to Grace (the "NMC Distribution"). If the NMC Distribution were not to
qualify as a tax-free spin-off udder Section 355 of the Internal Revenue Code of
1986, as amended (the "Code"), Grace Chemicals would recognize taxable gain upon
consurm~ation of the Distribution in an amount equal to the excess of the fair
market value of the NMC stock over Grace Chemicals’ tax basis in such stock
im~lediately prior to the NMC Distribution. This tax would be payable by Grace
Chemicals. If the Distribution were not to qualify as a tax-free spin-off under
Section 355 of the Code, then, in general, Grace would recognize taxable gain
an amount equal to the excess of the fair market value of the New Grace Common
Stock over Grate’s tax basis in the New Grace Cor~r~on $tock i~ediately prior to
the Distribution. This tax would be payable by FNMC. Although, pursuant to the
Grace Tax Sharing and Indemnification Agreement to be entered into upon the
closing of the Reorganization, Grace Chemicals will, under certain
circumstances, indemnify FNMC for such tax liability, there can be no assurance
that Grace Chemicals’ indemnification obligation will be applicable or that
Grace Chemicals will be able to satisfy any such obligation. See "THE
REORGANIZATION -- The Grace Tax $haring and INdemnification Agreement."

     Additlonally, if the Distribution were not to qualify as a tax-free
spin-off, each holderof Grace Coma%on Stock as of the Time of Distribution would
be treated as having received a taxable dividend equal to the fair market value
of the New Grace Common Stock received, if and to the extent that Grace (as
expected) has sufficient current and accumulated earnings and profits as of the
end of the taxable year in which the Distribution takes place. If and to the
extent that the fair market value of the New Grace Com~noN Stock exceeds Grace’s
ear~i~gs and profits as so determined, each such shareholder would first reduce
such shareholder’s tax basis in s~ch shareholder’s Grace COrI~on Stock (b~t not
below zero) to the extent that the value of the New Grace COr~%on Stock received
exceeds such shareholder’s pro rata share of such earnings and profits, and then
recognize gain from the Distribution to the extent that the val~e of the New
Grace Common Stock received exceeds both such shareholder’s pro rata share of
earnings and profits and tax basis in such shareholder’s Grace CO~On Stock. See
"CERTAIN FEDERAL INCOME TAX CONZE-

                                          29




http://edgar.sec.gov/Archives/edgar/dated42872/O000950123 -96-O04024.txt                                         5/19/2009
                 Case 01-01139-AMC                  Doc 21763-10            Filed 05/20/09   Page 7 of 29Page 36 of 474

In addition, Grace Chemicals has had, and is expected to continue to have,
significant liabilities arising out of asbestos related litigation and other
claims. If Grace Chemicals were unable to (or otherwise did not) satisfy such
liabilities, an unpaid claimant of Grace Chemicals might seek to assert such
liabilities against Fresenius Medical Care, FNMC and/or NMC. Although Grace
Chemicals has agreed to indemnify Fresenius Medical Care, FNMC and NMC against
such guarantees and asbestos claims, there can be no assurance that Grace
Chemicals will be able to fulfill its indemnity obligation.




                                        3O




http://edgar.sec.gov/Archives/edgar/data/42872/0000950123 -96-004024.txt                                      5/19/2009
                 Case 01-01139-AMC                  Doc 21763-10            Filed 05/20/09              Page 37 of 474
                                                                                             Page 8 of 29

Supervisory Board (but not less than two such me~ibers} will be persoDs who do
not have any s~bstantial business or professional relatioDshlp with Fresenius AG
or Fresenius Medical Care, Or a~y of their affiliates. Fresenius AG has agreed
to cause Fresenius Medical Care to provide certain protections for minority
shareholders in certain provisions of Fresenius Medical Cafe’s Articles of
Association and in the Pooling Agreement. These protections include FMC
Supervisory Board approval for certain transactions between Fresenius AG and
Fresenius Medical Care, standstill protectlons for a period of three years
following the Reorganization and other restrictions on the disposition of FMC
Ordinary Shares by Fresenius AG. The Pooling Agreement provides that it will be
enforceable in the state and federal courts in New York. See "DESCRIPTION OF THE
POOLING AGREEMENT." However, there can be no assurance that these protections
will be adequate or that German courts, applying German conflicts of law rules,
will enforce these provisions or New York judgments obtained with respect to
these provisions. See "DESCRIPTION OF THE POOLING AGREEMENT" and "COMPARISON OF
CERTAIN RIGHTS OF SH/u~EHOLDERS OF GRACE AND FRESENIUS USA."

  NO CURRENT MARKET

     There is currently no public market for the AOSS, the FMC Ordinary Shares
or the New Preferred Shares. While Eresenius Medical Care will apply to list the
ADSs on the NYSE and the ~MC Ordinary Shares on the Frankfurt Stock Exchange
a~d, after the Reorganization, Fh~C intends to seek to list the New Preferred
Shares on a national stock exchange, there can be no assurance that applicable
listing criteria will be satisfied, as to the volume of trading and liquidity
that will develop or as to the prices at which the FMC Ordinary Shares, the ADSs
or the New Preferred Shares will trade after the Reorganization. Moreover, until
the ADSS, ~MC Ordinary Shares and the New Preferred Shares are fully distributed
and orderly markets develop, the prices at which trading in such securities
Occurs may fluctuate significantly.

  SPECIAL DIVIDEND

     The New Preferred Shares are not entitled to receive a~y dividend payments
from FNMC other than the Special Dividend, the accrual of which will be
contingent upon the aggregate amount of adjusted cash flow generated by
Fresenius Medical Care during the period from January I, 1997 to Dece~ber
2001. See "DESCRIPTION OF NEW pREFERRED SHELVES" for a discussion of such
requirements. FNMC also


<pAGE>   56

must have adequate surplus in order for the payment of the Special Dividend to
be lawful under New York corporate law. Fresenius Medical Cafe’s ability to
generate cash flow is subject to ~lany factors, including the risk factors set




http://edgar.sec.gov/Archives/edgar/datW42872/OOOO950123-96-OO4024.txt                                       5/19/2009
                  Case 01-01139-AMC                   Doc 21763-10           Filed 05/20/09              Page 38 of 474
                                                                                              Page 9 of 29

disclosure requirements applicable to domestic issuers. Fresenius Medical Care
will not be subject to the Co.fission’s proxy rules or the Commission’s rules
requiring the filing of quarterly reports, and annual reports filed by Fresenius
Medical Care with the Col~mission will contain less detailed disclosure than
reports of domestic issuers regarding such matters as management, executive
compensati0~ and outstanding options, beneficial ownership of Fresenius Medical
Cafe’s securities and certain related party transactions. Also, officers,
directors and 10% beneficial owners of Fresenius Medical Cafe’s equity
securities will not be subject to the reporting requirements and short swing
profit recovery provislons of Section 16 of the Exchange Act. However, Fresenius
Medical Care has agreed that as long as the Pooling Agreement is in effect,
Fresenius Medical Care will file quarterly reports under cover of Form 6-K, will
prepare its annual and quarterly financial statements in accordance with US
and will file with the Co~ilission and provide to shareholders (including holders
Of ADRS) certain materials with respect to its annual and special meetings of
shareholders. See "DESCRIPTION OF THE POOLING AGREEMENT -- Listing of ~nerican
Depository Shares; see Filings" and --- Term.,.

                                        32
<pAGE>    57

                               THE SPECIAL MEETINGS

GENERAL

     This Joint Proxy Statement-Prospectus is being furnished to holders of
Grace Co~lo~ Stock and Grace Preferred Stock in connection with the solicitation
of proxies by the Grace Board for use at the Grace Special Meeting, to be held
on Septeraber 16, 1996. The purposes of the Grace Special Meeting are to consider
and vote upon a proposal to approve and adopt the Reorganization Agreement and
the transactions contemplated thereby (including the Grace Merger and the
Distribution), to approve and adopt the Grace Amendment and to transact such
other business as may properly come before the Grace Special Meeting.

     This Joint Proxy Statement-Prospectus is being furnished to holders of
Fresenius USA Coi~on Stock in connection with the solicitation of proxies by the
Fresenius USA Board for use at the Fresenius USA Special Meeting to be held on
Septe~er 16, 1996. The purposes of the Fresenius USA Special Meeting are to
consider and vote upon a proposal to approve and adopt the Reorganization
Agreement and the transactions contemplated thereby, including, without
limitation, the Fresenius USA Merger, to approve and adopt the Frese~ius USA
Plan ]~lendment and to transact such other business as may properly come before
the Fresenius USA Special Meeting.

     Each copy of this Joint Proxy Statement-Prospectus mailed to shareholders
of Grace is acco;spanied by a form Of proxy for use at the Grace Special Meeting,
an~ has attached ~S Ar*nex ~ th6 New GraCe Pro~pectus: E~ch copy of this ~o&nt
Proxy Statement-Prospectus mailed to stockholders of Fresenius USA is
accompanied by a form of proxy for use at the Fresenius USA Special Meeting.

     This Joint Proxy Statement-Prospectus is also being furnished to holders of
Grace Coition Stock and Fresenius USA Co.on Stock as a Prospectus of Fresenius
Medical Care in connection with the issuance of FMC Ordinary Shares represented
by ADSS in connection with the Reorganizatio~ and to holders of Grace Comnlon
Stock as a prospectus of Grace in connection with the issuance of the shares of
the New Preferred Shares by Grace in connection with the Recapitalization. See
"AVAILABLE INFOPJMATION."

DATE, PLACE 2~ND TIME

     The Grace Special Meeting will be held at Grace’s headquarters at One TOW~
Center Road, Boca Baton, Florida, on September 16, 1996, at I0:00 a.m. local




http://edgar.sec.gov/Archives/edgar/dated42872/0000950123-96-00402 4.txt                                      5/19/2009
                  Case 01-01139-AMC                 Doc 21763-10             Filed 05/20/09                  Page 39 of 474
                                                                                                  Page 10 of 29

<TABLE>
<CAPTION>
                                                                          SHARES      VOTES PER
                                  CLASS                                OUTSTANDING      SHARE

    <S>                                                                <C>            <C>
    Grace 6% Preferred Stock ......................................          36,460         160
    Grace Class A Preferred Stock .................................          16,256          16
    Grace Class B preferred Stock .................................          21,577          16
    Grace Common Stock ............................................      92,001~176           1
</TABLE>

      In addition to the classes of stock listed above, Grace has authorized
Class C Preferred Stock. There currently are no shares of Grace Class C
Preferred Stock outstanding.

     Votes Required. Holders of Grace Co.non Stock and Grace preferred Stock
will vote together as one class. Approval of the Reorganizatio~ Agreement and
the transactions contemplated thereby requires the affirmative vote of
two thirds (and, in the case of the Grace ~en~h~ent, a majority) of the total
voting power of Grace’s outstanding capital stock. AS a result, failing to vote
or abstaining on any such proposal has the same effect as voting against the
proposal.

     Beneficial Ownership of Management. At June 15, 1996, Grace’s directors
and executive officers and their affiliates beneficially owned in the aggregate
Grace Co--on Stock and Grace Preferred Stock representing less than 1% of the
total voting power of all of Grace’s stock entitled to vote at the Grace Special
Meeting. Each of the directors and executive officers of Grace is expected to
vote in favor of the proposals to be voted at the Grace Special Meeting.

     The presence in person or by proxy at the Grace Special Meeting of the
holders of a majority of the total voting power Of Grace’s outstanding capital
stock is necessery to constitute a quorum for the transaction of business. Under
the rules of the NYSE, brokers who hold shares i~ street name for customers will
not have the authority to vote on the Reorganizatio~ unless they receive
specific instructions from beneficial owners. Under the NYBCL, such a broker
non vote will not be counted as present for purposes of a quorum and will
otherwise have the s~me effect as a vote against the Keorganization.

      At July 23, 1996, the directors and executive officers of Fresenius USA
beneficially owned 360 shares of Grace CO~&~O~ Stock and ~o shares of Grace
Preferred Stock.

  FRESENIUS USA




http://edgar.sec.gov/Archives/edgar/datW42872/O000950123 -96-O04024.txt                                           5/19/2009
              Case 01-01139-AMC     Doc 21763-10     Filed 05/20/09              Page 40 of 474
                                                                      Page 11 of 29




                            35
<pAGE>   60




                             36




http://edgar.sec.gov/Archives/edgar/data/42872/OOOO950123-96-OO4024.txt                5/19/2009
                 Case 01-01139-AMC                 Doc 21763-10             Filed 05/20/09               Page 41 of 474
                                                                                             Page 12 of 29

                              BACKGROUND AND REASONS

BACKGROUND OF THE REORGANIZATION; REJ{5ONS FOR THE RECOMMENDATION OF THE GP~CE
BOARD

      On May 4, 1995, Mr. Albert J. Costello, the President and Chief Executive
Officer of Grace, was advised by Dr. Constantine L. HaMpers, the Chief Executive
Officer of NqMC, that, in order to solve certain management issues (such as the
desire for greater independence by NMC management, and NMC management’s concern
that, as part of a diversified conglomerate, NMC’s abilities to achieve its
potential could be constrained) at NMC, Grace should undertake a 100% spin-off
or sale of NMC and offered that ~{C management would be willing to buy NMC for
$3.5 billion if a sale were to be considered. Grace management, together with
its financial and legal advisors, evaluated Dr. Hampers’ proposals in light of
other alternatives available with respect to NMC.

     On June 14, 1995, the Grace Board met to consider Grate’s options regarding
NMC. Following presentations by Grace’s management and its financial and legal
advisors, the Grace Board authorized management to proceed with a plan pnrsuant
to which Grace would spin off NMC to Grace shareholders on a
one share-for-one share basis. In connection with its review and determination
that the spin-off of NMC was the best alternative for Grace and its
shareholders, the Grace Board considered, among other things, a proposal by
Vivra Incorporated ("Vivra") that NMC be merged with Vivra in a stock-for-stock
transaction in connection with a proposed NMC spin-off. Vivra proposed that such
merger would offer an unspecified premium to Vivra shareholders over the current
market price and wo~id result in certain operational synergies. The Grace Board
had reservations about the achievability of the operational synergies Vivra
suggested, given vivra’s relatively small size. Moreover, the Grace Board felt
that the proposal co~tained contingencies and uncertainties not present in a
pure spin-off, and considered that Vivra itself had recognized that the bulk of
the value created through the Vivra proposal would be through the spin-off, and
not through the merger with Vivra. since the Vivra proposal would add, at best,
a marginal benefit to the spin-off transaction, the Grace Board felt that it
would not be prudent to jeopardize the spin off to pursue that possible marginal
benefit. In addition, the Grace Board considered that NMC would not be precluded
from pursuing any synergistic transactions, such as a merger with Vivra, after
the spin-off. The Grace Board took into account that Grace’s financial advisors
had made discrete solicitations of interest in NMC and that, despite such
solicitations and the publicized nathre of the transaction, no third party other
than Vivra had made a proposal for NMC.

     D~ring the su~er and early fall of 1995, Grace management, together with
Grace’s financial and legal advisors, took steps toward the cons~ation of the
spin-off. On October 17, 1995, NMC received five subpoenas from the OIG, the
United States Attorney’s office for the District of Massachusetts and others, as




                                         37




http://edgar.sec.gov/Archives/edgar/data/42872/OOOO950123-96-OO402 4.txt                                      5/19/2009
            Case 01-01139-AMC        Doc 21763-10      Filed 05/20/09               Page 42 of 474
                                                                         Page 13 of 29




http ://edgar. sec.gov/Archives/edgar/dat a/42872/0000950123 -96-004024 .txt             5/19/2009
                    Case 01-01139-AMC                  Doc 21763-10             Filed 05/20/09              Page 43 of 474
                                                                                                 Page 14 of 29

provided for the issuance of the New Preferred Shares) was preferable to the
January 31 Baxter proposal (which Baxter had stated was valued at $3.8 billion)
for the reasons described in the third preceding paragraph. After such
presentations, and taking into account the alternatives available the Grace
Board unanimously determined that the Reorganization and the proposed agreements
relating thereto were fair to and in the best interests Of Grace and its
shareholders, authorized Grace to enter into the agreements and to consummate
the transactions contemplated thereby, and resolved to recom~end that Grace
shareholders approve such agreements and the transactions contemplated thereby.

     I~ Connection with its approval and recon~nendation, the Grace Board
considered, among other things, the following factors:

               (a} the terms of the proposed transactions and the proposed agreements
         relating thereto, including, among other things, the requirement for Grace
         shareholder approval and the other conditions to consufi~l~tion, the
         circumstances under which the agreements could be terminated and the
         termination fees payable in connection therewith;

               (b) the "Morris Trust" structure and the tax treatment of the
         transaction;

               (c) other available alternatives, including the Baxter proposal, and
         the ability to enter into an agreement respecting a higher offer under
         certain circumstances under the Fresenius AG transactlon;

               (d) the presentation by representatives of CS First Boston and Merrill
         Lynch which included, among other things, valuation analyses with respect
         to Fresenius Medical Care and NMC and each such firm’s opinion that the
         Distribution Payment a~d the Grace Merger, taker together, were fair, from
         a financial point of view, to holders of Grace Con~on Stock, such opinion
         and presentations being based on certain assumptions a~d subject to certain
         limitations (see "-- Financial Advisors to Grace");

               (e) the business rationales for the transaction, including that the
         conlblnation of NMC and Fresenius Worldwide Dialysis had the potential to
         enhance shareholder value through operating sy~ergies as a~ i~tegrated
         dialysi~ products and services co[~pany, although there can be ~o assurance
         that synergies will be achieved or as to the a~ount thereof, and that
         FreseNi~s Medical Care could take advantage of ~niq~e marketpl~ce strengths
         in the U.S. and other markets, notwithstanding the competitive and other
         risks associated with co~Ibining a products company ~nd a services company;

                                             39
<pAGE>       64




http://edgar.sec.gov/Archives/edgar/data/42872/OOOO950123-96-OO4024.txt                                          5/19/2009
                 Case 01-01139-AMC                  Doc 21763-10            Filed 05/20/09               Page 44 of 474
                                                                                             Page 15 of 29

Payment and the Grace Merger, taken together, were fair, from a financial point
of view, to the holders of Grace Co.on Stock. In preparing these opinions,
these firms performed a variety of financial and comparative a~alyses and made a
detailed presentation to the Grace Board with respect to, among other things,
the valuations of FreseNius Medical Care and NMC. The Grace Board, in accepting
the opinions of the Grace Financial Advisors, was aware that the Grace Financial
Advisors relied upon certain financial information, projections and other
information provided by Grace management and that the opinions of such firms
relied, in part, on certain assumptions and are subject to certain limitations.
While the Grace Board did not perform an independent review of the financial
information, pro3ections and other information provided to the Grace Financial
Advisors, the Grace Financial Advisors end management did review certain
financial information and projections with the Grace Board. The Grace Board
relied on the Grace Financial Advisors, whom it considered to be experts in such
matters, to select the appropriate methodologies to determine fairness. NO
updates of such opinions have been requested because such Oplnions were provided
solely in coN~ectio~ with the decisions of the Grace Board taken on February 4,
1996. While the pro forma financial information included herein was not
~vailable on February 4, 1996, Grace believes that s~ch pro forma financial
infor~ation is not materially different from the information available on
February 4, 1996 so as to impact on fairness.

                                         4O
<pAGE>   65

      THE FULL TEXTS OF THE WRITTEN OPINIONS OF CS FIRST BOSTON AND MERRILL L~qqCH
ARE SET FORTH IN APPENDIX C TO THIS JOINT PROXY ZTATEMENT pROSPECTUS ~LND
DESCRIBE THE ASZUMPTIONS ~i~E, MATTERS CONSIDERED /dqD LIMITS ON THE REVIEW
UNDERT~/<EN. THE OPINIONS OF CS FIRST BOSTON ~D MERRILL LYNCH WERE FURNISHED FOR
THE INFORMATION OF THE GRACE BO~.RD IN CONNECTION WITH ITS CONSIDERATION OF THE
REORGANIZATION, ~ND DO NOT CONSTITUTE A RECO~ENDATION TO ANy GRACE SHAREHOLDER
AS TO HOW SUCH SHAREHOLDER SHOULD VOTE ON THE REORG~%NIZATION. GRACE SHAREHOLDERS
~ URGED TO READ THE OPINIONS IN THEIR ENTIRETY.

     Opinion of CS First Boston. In connection with its opinion, CS First
Boston reviewed certain publicly available business and financial information
relating to Grace, NMC and Fresenius Worldwide Dialysis, as well as the
Reorganization Agreement, the Contribution Agreement and the Distribution
Agreement (collectively, the "Transaction Agreements"). CS First Boston also
reviewed certain other information, incl~ding financial forecasts and certain
information with respect to potential synergies which may result from the
Reorganization, provided to CS First Bosto~ by Grace and Frese~ius AG, and met
with the managements of Grace, Fresenius AG and Fresenius USA to discuss the
business and prospects of NMC, Fresenius Worldwide Dialysis and Frese~ius USA.
CS First Boston also considered certain financial data of NMC, Fresenius
Worldwide Dialysis and Fresenius USA ~nd compared that data with similar data




http://edgar.sec.gov/Archives/edgar/data/42872/OOOO950123-96-OO4024.txt                                       5/19/2009
                 Case 01-01139-AMC                 Doc 21763-10             Filed 05/20/09              Page 45 of 474
                                                                                             Page 16 of 29



<PAGE>   66

     Based upon and subject to the foregoing, CS First 8oston rendered its
opinio~ that, as of the date of such opinion, the terms of the Distribution
payment and the Grace Merger, taken together, were fair, from a financial point


     opinion of Merrill Lynch. In connection with its oplnion, Merrill Lynch
reviewed Grate’s Ar~nual Reports, FO~S i0 K and related financial information
for the five fiscal years ended December 31, 1994 and its Forms 10-Q and the
related unaudited financial information for the quarterly periods ending March
31, 1995, June 30, 1995 and September 30, 1995; reviewed certain historical
financial information with respect to ~C furnished to Merrill Lynch by Grace
and reviewed NMC’s Form I0 filed with the Co~isslon on September 25, 1995 which
included audited financial information for the three fiscal years ended December
31, 1994 and unaudited financial information for the six month periods ending
June 30, 1995 and June 30, 1994; reviewed certain historical financial
information with respect to FreseNi~s AG and Freseni~s Worldwide Dialysis
furnished to Merrill Lynch by Fresenius AG and reviewed Fresenius USA’S Ann~al
Reports, Forms 10-K and related financial information for the five fiscal years
ended December 31, 1994 and its Forms 10-Q and the related unaudited financial
information for the quarterly periods ending March 31, 1995, June 30, 1995 and
September 30, 1995; reviewed certain information, including financial forecasts,
relating to the b~siness, earnings, cash flow, assets and prospects of ~C,
Fresenius Worldwide Dialysis and Fresenius USA, furnished to Merrill Lynch by
Grace, Fresenius AG and Fresenius USA, i~cluding certain information with
respect to potential synergies which may result from the Reorganization;
conducteddiscussions with marchers of senior management of Grace and NMC, and
with Freseni~s AG and FreseNius USA, with respect to the b~si~esses, operations
and prospects of NMC, FreseNius Worldwide Dialysis and Fresenius USA,
respectively; compared the results of operations of NMC and Frese~ius Worldwide
Dialysis with those of certain other companies which Merrill Lynch deemed to be
reasonably similar to NMC and Freseni~s Worldwide Dialysis; considered certai~
ter~s of the documents which govern the rights of stockholders of Fresenius
Medical Care, including certain governance provisions applicable to Fresenius AG
and Fresenius Medical Care; compared the proposed financial terms of the
Reorganization with the financial ter~s of certain other mergers and
acquisitions which Merrill Lynch deemed relevant; reviewed the financial terms
and conditions of the proposed forths of the Transaction Agreements; reviewed the
terms of the letter from Baxter to Grace dated January 31, 1996, setting forth a
proposal for the acquisition by Baxter of NMC; and reviewed such other financial
studies and analyses and performed such other i~vestigations a~d took into
account such other matters as Merrill Lynch deemed necessary.




http://edgar.sec.gov/Archives/edgar/data/42872/OOOO950123-96-OO4024.txt                                       5/19/2009
                 Case 01-01139-AMC                 Doc 21763-10            Filed 05/20/09              Page 46 of 474
                                                                                            Page 17 of 29

the holders of Grace Corm~on Stock.

     In preparing their opinions to the Grace Board, the Grace Financial
Advisors performed a variety of financial a~d comparative analyses, including
those described under "- Presentation by Grace Financial Advisors." The
of the Grace Financial Advisors’ analyses set forth below does not purport to be
a complete description of the analyses underlying the Grace Financial Advisors’
opinions, but includes a summary of all material valuatio~ methodologies
performed by the Grace Financial Advisors. The preparation of a fairness opinion
is a complex analytic process involving various determinations as to the most
appropriate and relevant methods of financial analyses and the application of
those methods to the particular circumstances a~d, therefore, such an opinionis
not readily susceptible to s~nnmary description. In arriving at their opinions,
the Grace Financial Advisors made qualitative judgments as to the significance
and relevance of each analysis and factor considered by it. Accordingly, the
Grace Financial Advisors believe that their analyses must be considered as a
whole and that selecting portions of their analyses a~d factors, without
considering all analyses and factors, could create a misleading or incomplete
view of the processes underlying such a~alyses a~d their Oplnions. In their
analyses, the Grace Financial Advisors made numerous assumptions with respect to
Grace, NMC, Fresenius Worldwide Dialysis, Fresenius USA and Frese~ius Medical
Care, industry performance, regulatory, general business, economic, market and
financial co~ditioDs and other matters, ma~y of which are beyond the control of
Grace, NMC, Fresenius Worldwide Dialysis, Freseni~s USA and Fresenius Medical
Care. No company, transaction or business used in such analyses as a comparison
is identical to Grace, NMC, Fresenius Worldwide Dialysis, Fresenius USA and
Fresenius Medical Care or the Reorganization, nor is an evaluation of the
results of such analyses e~tirely mathematical; rather, it involves complex
considerations and jud~ents concerning financial and operating characteristics
and other factors that could affect the acquisition, public trading or other
val~es of the companies, business segments or transactions being analyzed~ The
estimates contained i~ s~ch analyses and the ranges of val~ations res~Iting from
any ’particular analysis are not necessarily indicative of actual values or
predictive of future results or values, which may be significantly more or less
favorable than those suggested by such analyses. In addition, analyses relating
to the value of businesses or securities do not p~rport to be appraisals or to
reflect the prices at which b~sinesses or securities aot~ally may be sold.
Accordingly, because such estimates are inherently subject to substantial
uncertainty, none of Grace, NMC, Fresenius AG, Fresenius Worldwide Dialysis,
Freseni~s USA, Fresenius Medical Care, the Grace Financial Advisors or any other
perso~ ass~uaes responsibility for their accuracy.




 http://edgar.sec.gov/Archives/edgar/dated42872/OOOO950123-96-OO4024.txt                                     5/19/2009
            Case 01-01139-AMC        Doc 21763-10      Filed 05/20/09              Page 47 of 474
                                                                        Page 18 of 29




http://edgar.sec.gov/Arctflves/edgar/data/42872/O000950123 -96-O04024.txt               5/19/2009
                Case 01-01139-AMC                  Doc 21763-10            Filed 05/20/09               Page 48 of 474
                                                                                            Page 19 of 29

share. Because there is substantial uncertainty whether any Special Dividend
payments will become payable on the New Preferred Shares, the Grace Financial
Advisors valued the New Preferred Shares at zero for the purpose of their
analyses. Accordingly, any amounts ultimately realized by holders of Grace
Co,on Stock in respect of the New Preferred Shares held by them would represent
additional value above the value taken into account by the Grace Financial
Advisors in rendering their opinions as to the fairness of the Distribution


      OIG Investigation. As described under "BUSINESS OF FRESENIUS MEDICAL
CARE -- Regulatory and Legal Matters     Legal and Regulatory Proceedings -
Investigation," NMC is the target of certain goverru~ental add regulatory
investigations relating to the conduct of its business, which could result in
substantial liabilities and obligations being incurred by NMC in the future. The
Grace Financial Advisors took into account the ~Ncertainty regarding s~ch
investigations in their estimate of the range of price/earnings ratios for the
FMC Ordinary Shares described under -     Comparable Company ~nalysis" and
"-- Val~@tlon of Distribution Payment and Grace Merger." In their analyses
described ~nder --- Discounted Cash Flow~nalysis of Fresenius Medical Care" and
--- NMC Stand-Alone Valuation," the Grace Financial Advisors took into account,
solely for the purpose of their analyses, payments to the federal government in
connection


<PAGE>   70

with previous settlements of regulatory investigations of companies in the
health care industry. This did not, and was not intended to, reflect a judgment
as to the potential OUtcome of the investigations, the comparability of the NMC
investigations to said previous investigations or the merits of any aspect of
such investigations. The Grace Financial Advisors were advised by management of
Grace and NMC that management was unable to predict the amount of liabilities
and obligations which may be incurred by NMC arising out of the foregoing
investigations. The Grace Financial Advisors noted that, depending upon the
actual amount of liabilities and obligations incurred by NMC, the resolution of
these issues could have a material adverse impact on NMC in the future
(although, by reason of the Reorganization, only 44.8% of such impact would be
borne by Grace shareholders)~

     The foregoing is a stnmnary of the material terms of the presentation by the
Grace Financial Advisors to the Grace Board on February 4, 1996, and does not
purport to be a complete description of such presentation. The analyses by the
Grace Financial Advisors in connection with such presentation do not purport to
be appraisals or necessarily reflect the prices at which businesses or
securities actually may be sold. AS described above, the opinions of the Grace
Financial Advisors and their presentation to the Grace Board were one of a




http://edgar.sec.gov/Archives/edgar/data/42872/O000950123 -96-O04024.txt                                     5/19/2009
                 Case 01-01139-AMC                  Doc 21763-10            Filed 05/20/09              Page 49 of 474
                                                                                             Page 20 of 29

      ]n the ordinary course of their respective businesses, CS First Boston and
Merrill Lynch may actively trade in the debt and e(yeity securities of Grace,
Fresenius AG and Freseni~s USA (and, after the Reorganization, Fresenius Medical
Care) for their o~m account or for the accounts of their customers and,


<PAGE>   71

accordingly, may at any time hold long or short positions in such securities. In
addition, CS First Boston is currently in discussions with Fresenius Medical
Care to act as an underwriter of securities of Fresenius Medical Care, the
proceeds of which may be used to refinance a portion of NMC~S bank debt
following eonsun~ation of the Reorganization~ See "FINANCING    Refinancing."

BACKGROUND OF THE REORGThNIZATION; REASONS FOR THE RECOF~4ENDATION OF THE
FRESENIUS USA BOARD

     The following discussion regarding the reasons for the reeo~e~dation of
the Fresenius USA Board reflects the initial proposed capitalization for
Fresenius Medical Care of 217,170,000 FMC Ordinary Shares (with each ADS
evidencing one FMC Ordinary Share) and has not been adjusted to reflect the
final capitalization of 70,000,000 FMC ordinary Shares (or the fact that three
ADSs represent one ~MC ordinary Share).

     The Fresenius USA Board has unanimously approved the Reorganization and the
transactions contemplated thereby, including the Fresenius USA Merger and the
Fresenius USA Plan ~enc~ment, and has determined that such transactions are fair
to, and in the best interests of, the stockholders of Fresenius USA. The
Fresenius USA Board unaniNlously reco~ends that Fresenius USA stockholders vote
for approval of the Reorganization Agreement including the Fresenius USA Merger,
and the Fresenius USA Plan ~enc[ment.

     At a meeting of the Fresenius USA Board on January 25, 1996, Fresenius AG
informed the Fresenius USA Board of the proposed ReorganizatioN. After a
discussion concerning the structure of the proposed Reorganization, the
Fresenius USA Board voted unanimously to establish the Fresenius USA Independent
Co~ittee comprised of the three Fresenius USA independent directors, Robert
Ehrlich~ Sames F. Marten and Francis E. Baker, and delegated to the Frese~i~s
USA Independent ~o~ittee the authority to consider, negotimte, and authorize
the economic terms of the participation of the public stockholders of Fresenius
USA, other than Fresenius AG, Grace and their respective subsidiaries (the
"Fresenius USA Public Stockholders") in the proposed Reorganization. The
Freseni~s USA Board further a~thorized the Fresenius USA Independent Co~nlttee
to retain, at Fresenius USA’S expense, necessary advisors, including an
investment banking firm an4 legal counsel.


discuss the selection of financial and legal advisors. The Fresenius USA
Independent Committee discussed the importance of retaining a financial advisor
with the experience and expertise appropriate to review whether the proposed
Reorganization was fair to the public stockholders of Fresenius USA from a
financial view)Point, and also agreed that experience in the health care industry
was a significant consideration. The Fresenius USA Independent Coi~littee decided
to retain Ropes & Gray as its legal advisor because of its experience
representing Freseni~s USA and in psrtic~lar its experience representing
Fresenius USA’s public minority in previous arm’s-length negotiations between
Frese~ius USA and Freseni~s AG. Ropes & Gray informed the Fresenius USA
Independent Committee that, in connection with its role as counsel to Fresenius
USA, Ropes & Gray has, from time to ti~e, rendered advice to 4irectors
officers of Fresenius USA regarding how to str~cture certain personal
transactions involving securities of Fresenius USA. The Freseni~s USA
Independent Co~ittee ~et ~gain several ti~es during the ensuing week, during
which time it elected Mr. Ehrlich Chairman and conferred with, and received
legal advice from, Ropes & Gray.

     After the execution of the Reorganization Agreement by Fresenius AG and
Grace on February 4, 1996, Fresenius AG orally conveyed a proposal to the
Freseni~s USA Independent Committee to exchange 3.8% of the equity of Freseni~s
Medical Care, Or .77 Of an FMC Ordinary Share per share of Fresenius USA Co~on
Stock, on a fully diluted basis, as the consideration to the Fresenius USA
Public Stockholders in the proposed Fresenius USA Merger (the "First Proposal").
Frese~ius USA issued a press release ON February 5, 1996, announcing its receipt
Of the First Proposal.

     On February 12, 1996, Fresenius AG’s financial ~dvisor, Dresdner Securities
(USA) Inc. ("Dresdner Securities"), presented the First Proposal and explained
the calculation thereof to the Fresenius USA Independent Corm~ittee and its legal
counsel. Dresdner Securities and Fresenius AG also sum~]arized the terms of the
Reorganization a~d the Reorganization Agreement, and responded to questions from
the

                                          47
<pAGE>    72

Frese~ius USA Independent Committee and its counsel concerning the structure of
the Reorganization, the future financing needs of Freseni~s Medical Care, the
debt to be assumed by Frese~ius Medical Care in the Reorganization, and the
value of the ~{C Ordinary Shares.

     On February 13, 1996, after considering proposals and interviewing numerous
prospective financial advisors, the Fresenius USA Independent Committee retained
Salomon Brothers as its financial advisor, and signed a~ engagement letter,
dated February 13, 1996, to that effect~ The Co~nittee directed Salomon Brothers
to undertake an evaluation of the Keorg~nization and to communicate with




http://edgar.sec.gov/Arcbives/edgar/dated42872/OOOO950123-96-OO4024.txt                                      5/19/2009
                 Case 01-01139-AMC                  Doc 21763-10             Filed 05/20/09              Page 50 of 474
                                                                                              Page 21 of 29

Fresenius AG’s financial advisors in order to assist the Fresenius USA
Independent Com~ittee i~ its negotiations with Fresenius AG. In addition,
Salomon Brothers was charged with evaluating the fairness, fro~ a financial
point of view, of the proposals made by Fresenius AG with regard to the exchange
ratio for the exchange of Fresenius USA Co~on Stock for FMC Ordinary Shares
held by the Fresenius USA Public Stockholders under the te~qns of the proposed
Reorganization.

     On February 13, 1996, Dresdner Securities explained to Salomon Brothers the
financial terms of the First Proposal and described the methodology and basis
for calculating the share exchange ratio underlying the First Proposal. Dresdner
Securities and Fresenius AG also s~arized the terms of the Reorganization and
the Reorganization AgreemeDt~

      Between February 13 and March 19, 1996, the Fresenius USA Independent
Committee and its legal and financial advisors Met on a regular basls to discuss
the First Proposal and the transactions conte~iplated by the Reorganization
Agreement. Ropes & Gray and Selomon Brothers performed an extensive due
diligence review of Fresenius AG, NMC and the proposed transactions, and Salomon
Brothers conducted comprehensive and detailed economic valuations of Fresenlus
USA, Fresenius Worldwide Dialysis, ~[MC and Fresenius Medical Care. In addition,
during this time, Mr. Ehrlich met several times with Salomon Brothers and
discussed in detail the economic models that Salomon Brothers would use for
valuing Fresenius USA, ~[MC, Fresenius Worldwide Dialysis, and Fresenius Medical
Care.

     The Fresenius USA Independent Co~i]ittee met on March 19, 1996 with its
legal and financial advisors. Ropes & Gray presented the Fresenius USA
Independent Co~nittee with the results of its review of Fresenius AG and NMC,
tax issues implicated by the tr&nsaction, the OIG Investigation and other
government investigations of NMC and the potential asbestos liability of New
Grace. Salomon Brothers then presented its analysis. A~ described below in
,,     Recommendation of the Freseni~s USA Independent Co~mlittee and the Board of
Directors -- opinion of Salomon Brothers," this analysis included a preliminary
valuation of Freseni~s Medical Care (based on the component parts -- NMC and
Fresenius Worldwide Dialysis) and Fresenlus USA. This analysis included but was
not limited to the following methodologies to value the business: the historical
and current market for the Fresenius USA Co~on Stock and for the equity
securities of certain other companies CO[~%parable to Fresenius USA, Fresenlus
Worldwide Dialysis, NMC or Fresenius Medical Care; discounted cash flow analysis
of each of Fresenius USA, NMC and FreseDius Worldwide Dialysis; and the nature
and terms of certai~ other transactions believed to be relevant. This analysis
also included a revision of the First Proposal. Salomon Brothers explained that,
in evaluating the offer made to the Fresenius USA Public Stockholders, Salomon
Brothers’ analysis focused oh the future prospects of each of the component
companies of Fresenius Medical Care. SalomoD Brothers described the various
methodologies ~sed in valuing Fr~s~nlus Medical Care and the possible syne~gies
cre~ted by the Reorganization, a~d advised the Freseni~s USA Independent
Cor~ittee that the First Proposal was below market value and that the Fresenius
USA Independent Con~ittee should continue to negotiate to maximize stockholder
value.

     Between March 19 and the end of April 1996, the Fresenius USA Independent
Co~ittee met at least twice weekly by telephone conference call to receive
advice from and give direction to its legal and financial advisors in connection
with its review of the Reorganization. At the request of the Fresenius USA
Independent Con~ittee, Salomon Brothers met with Dresdner Securities on March
21, 1996, to discuss Fresenius AG’S First Proposal. Salomon Brothers informed
Dresdner Securities that Salomon Brothers disagreed, as an economic matter, with
Dresdner Securities~ valuation assumptions, methodologies, and conclusions, and
f~rther stated that Salomon Brothers believed that the First Proposal was
inadequate and that


<PAGE>   73

the Fresenius USA Independent Cor~ittee would require the best price reasonably
available to the Fresenius USA Public Stotkholders. Salomon Brothers stated that
the Fresenius USA I~dependent Co~ittee was flexible as to how the consideratio~
could be structured.

     The Fresenius USA Independent Cor~nittee informed Fresenlus AG on March 26
that the Fresenius USA Independent Cor~littee believed that the public
stockholders of Fresenius USA should receive a premium above the c~rrent market
value. The Fresenius USA Independent Con~nittee asked Fresenius AG to meet wlth
representatives of Salomon Brothers so that they could present their valuations
of the Reorganization and the entities created thereby. Balomon Brothers
presented its valuation to Dr. Gerd Krick, Chairman of the Management Board of
Fresenlus AG (the "Fresenius AG Management Board"), on March 29, 1996. Salomon
Brothers informed Fresenius AG that the Fresenius USA Independent Cor~littee
believed the First Proposal was inadequate. Between April 3 and April i~, 1996,
Salomon Brothers and Dresdner Securities met on several occasions and explored
different means of providing the Fresenius USA Public Stockholders with the
greatest consideration reasonably available, including the use of consideration
other than ~MC Ordinary Shares~

     At a meeting On April ii, 1996, Salomon Brothers informed the Fresenl~s USA
Independent Co~%ittee that Fresenius AG was exploring the possibility of
offering Fresenius USA’S stockholders a non voting preferred stock instead of
~MC Ordinary Shares and advised that such a security would trade at a discount
to ~C Ordinary Shares. A discussion ensued regarding the value of different
forms of consideration and the strengths and weaknesses of each form for the
Fresenius USA Public Stockholders. $alomon Brothers advised that the Fresenius
USA Independent Com~%ittee negotiate further with Fresenius AG to maximize the




http://edgar.sec.gov/Archives/edgar/data/42872/OOOO950123-96-OO4024.txt                                       5/19/2009
                 Case 01-01139-AMC                 Doc 21763-10             Filed 05/20/09              Page 51 of 474
                                                                                             Page 22 of 29

value offered to the Fresenius USA Public Stockholders in exchange for their
shares of Fresenius USA Con~on Stock.

      On April 16, 1996, Fresenius AG informed the Fresenius USA Independent
Coi~ittee that it would offer 1.045 ~C Ordinary Zhare~ for each publicly held
share of Fresenius USA Co,~on Stock (assuming that Frese~i~s Medical Care wo~id
issue 217,170,000 ~MC Ordinary Shares and assuming a maxlmum of 10,183,123
shares of Fresenius USA Co~lon Stock) (the "Second Proposal")~ After
consultation with its advisors, the Fresenius USA Independent Coi~littee rejected
the Second Proposal as providing, in the Freseni~s USA Independent Con~ittee’s
view, inadequate value for the Frese~ius USA Public Stockholders. The Fresenius
USA Independent committee proposed including cash as a portion of the
consideration paid to the Fresenius USA Public Stockholders and were told that
Fresenius AG would not pay cash for any portio~ of the Fresenius USA CO~O~
Stock.

      On April 18, 1996, Salomon Brothers participated with Ropes & Gray in
further negotiations with representatives of Fresenius AG. On April 21, 1996,
Fresenius AG presented to the Fresenius USA l~depe~dent Co~ittee its offer to
exchange 1.15 ~C Ordinary Shares for each share of Fresenius USA Co~on Stock
held by the Fresenius USA Public Stockholders (assuming that Fresenius Medical
Care would issue 217,170,000 FMC Ordinary Shares and assuming a maximum of
9,253,331 Outstanding shares of Fresenius USA Co~on Stock held by persons other
than Fresenius AG, Grace and their respective subsidiaries), (the "Third
Proposal"). The Fresenius USA Independent Cor~ittee sought from add explored
with Fresenius AG the possibility of additional consideration and were informed
by Fresenius AG that the Third Proposal was its highest offer. The Fresenius USA
Independent Conanittee discussed the Third Proposal with its legal and financial
advisors at a meeting on April 22, 1996. A~ter extensive consultation, the
Fresenius USA Independent Co~nittee, believing that it had negotiated the
highest consideration reasonably attainable for the Fresenius USA Public
Stockholders, determined that the Third Proposal was a strong offer and that it
would make a decision with respect to whether the offer was f~ir to, and i~ the
best interests of, the Freseni~s USA Public Stockholders when it received a
formal opinion from its financial advisors. On April 25, 1996, Salomon Brothers
gave its oral opinion as to the fairness from a financial point of view of the
Third Proposal. Subsequently, the Fresenius USA Independent committee was
informed that Fresenius Medical Care would issue 70,000,009 ~4C Ordinary Shares
 (instead of 217,170,000 as previously anticipated) and that the%Third Proposal
was, therefore, equivalent to an exchange of 0.37067735 FMC Ordinary Shares for
each share of Presenius USA Cor~non Stock held by the Fresenius USA Public
Stockholders.

                                         49
<pAGE>   74




http://edgar.sec.gov/Archives/edgar/dated42872/OOOO950123-96-OO4024.txt                                      5/19/2009
                    Case 01-01139-AMC                  Doc 21763-10               Filed 05/20/09              Page 52 of 474
                                                                                                   Page 23 of 29

         respective subsidiaries) from a financial point of view (see "      Opinion
         of Salomon Brothers")~

          the FMC Ordinary Shares to be issued in the Fresenius USA Merger will
         trade on the NYSE as ADRs representing ADSS;

         - the tax effects of the proposed Reorganization to Fresenius Medical Care
          and to Fresenius USA and its stockholders, as described under "CERTAIN
          INCOME TAX CONSEQUENCES OF THE TR;hNSACTIONS TO HOLDERS OF FRESENIUS USA
          COMMON STOCK;*’

         - the Reorganization Agreement expressly provides that nothing in such
          agreement shall be construed to prevent the Fresenius USA Independent
          Co~%ittee from making a determination with respect to the adequacy of the
          consideration payable to the Fresenius USA Public Stockholders or the
          entire fairness of the transaction to the public stockholders of Fresenius
          USA, consistent with their fiduciary duties;

           the fact that, while Fresenius AG would ow~ a majority of the voting
          securities of Fresenius Medical Care, Fresenius AG has agreed that at
          least two members of the EMC Supervisory Board to be elected by the
          shareholders will be persons who do not have any substantial professional
          relationship with Fresenius Medical Care, Fresenius AG, or any of their
          respective affiliates, and has also agreed to

                                            5O
<PAGE>       75

          certain protections for minority shareholders as set forth under
          "DESCRIPTION OF THE POOLING AGREEMENT;"

         - the belief of the Fresenius USA Independent Corm~ittee, based in part on
          the presentation by representatives of Salomon Brothers which included,
          emong other things, valuation analyses with respect to Fresenius Medical
          Care and Fresenius USA, that the per share consideration payable to the
          Fresenius UZA Public Stockholders was, on May 8, 1996, worth more than the
          then current fair market value of a share of Fresenius USA Common Stock;
          and

         - the various risks involved in the Reorganization that are more fully
          described under "RISK FACTORS."

     The negotiations between the Fresenius USA Independent CoI~ittee and
Fresenius AG dealt solely with the economic terms for the participation of the
Fresenius USA public Stockholders in the Reorganization. The Fresenius USA
INdependent Committee did not propose or request any changes or revisions to the




http://edgar.sec.gov/Archives/edgar/data/42872/O000950123 -96-O04024.txt                                            5/19/2009
                 Case 01-01139-AMC                 Doc 21763-10             Filed 05/20/09               Page 53 of 474
                                                                                             Page 24 of 29

 (the "Fresenius USA Public Stockholder Exchange Ratio"] of 0.37067735 ~C
Ordinary Shares lhavlng given effect to the new capitalization) to be issued in
exchange for each share of Fresenius USA CoOl,on Stock held by the Freseni~s USA
Public


<PAGE>   76

Stockholders in the Fresenius USA Merger, pursuant to the Reorganization
Agreement, was fair from ~ financial point of view to the holders of Fresenius
USA Com~non Stock (other than Fresenius AG and Grace and their subsidiaries). In
rendering its opinion 8alomon Brothers assumed, with the consent of the
Frese~ius USA Independent Committee, that pursuant to the Reorganization
Agreement, i~ediately after the consu~ation of the ReorganizatioD there wo~ld
be 70,000,000 outstanding FMC Ordinary Shares on a fully diluted basis,
resulting in the Fresenlus USA public stockholders owning an aggregate of 4.9%
of FMC Ordinary Shares Outstanding on a fully diluted basis i~lediately
following the Reorganization. $alomon Brothers also assumed that ir~ediately
prior to the Frese~ius USA Merger, there wo~Id be outstanding no more than
9,253,331 Fresenius USA Common Share Equivalents {i.e., the aggregate number of
shares of Fresenius USA Co,on Stock (i) outstanding and (ii) underlylng
options, warrants and convertible securities of Freseni~s USA) as required by
the Reorga~izatio~ Agreement.

      THE FULL TEXT OF SALOMON BROTHERS’ OPINION TO THE FRESENIUS USA INDEPENDENT
CO}~MITTEE, DATED bray 8, 1996, WHICH SETS FORTH ASSUMPTIONS M/{DE, MATTERS
CONSIDERED AND LIMITS ON THE REVIEW UNDERTAKEN BY SALOMON BROTHERS, IS ATTACHED
AS APPENDIX D TO THIS JOINT PROXY STATEMENT pROSPECTUS AND IS INCORPO~{ATED
HEREIN BY REFERENCE. SALOMON BROTHERS’ OPINION DELIVERED TO THE INDEPENDENT
CO~94ITTEE WAS DIRECTED ONLY TO THE FRESENIUS USA PUBLIC STOCKHOLDER EXCHANGE
P~ATIO IN THE FRESENIUS USA MERGER AND DOES NOT CONSTITUTE A RECO~ENDATION TO
ANy FRESENIUS USA STOCKHOLDER AS TO HOW SUCH STOCKHOLDER SHOULD VOTE AT THE
FRESENIUS USA SPECIAL MEETING. THE SU~W~y OF THE SALOMON BROTHERS OPINION SET
FORTH IN THIS JOINT PROXY STATEMENT-PROSPECTUS IS QUALIFIED IN ITS ENTIRETY BY
REFERENCE TO THE FULL TEXT OF SUCH OPINION. FRESENIUS USA STOCKHOLDERS ARE URGED
TO READ CAREFULLY SUCH OPINION IN ITS ENTIRETY.

     In arriving at its opinion, Salo~on Brothers reviewed and analyzed (i) the
Reorganization Agreement, the Distribution Agreement and the Contribution
Agreement, (ii) a draft of this Joint Proxy Statement Prospectus, (iii] certain
publicly available information concerning Fresenius USA, Grace, N~C and
Fresenius AG, (iv) certain pro forma financial and other information co~cer~i~g
Fresenius Worldwide Dialysis furnished to Salomon Brothers by Fresenius AG, (v}
certain other internal information, primarily financial in nature, including
projectlons, co~cerning the b~siness and operations of each of Frese~i~s USA,
NMC and Fresenius Worldwide Dialysis furnished to Salomon Brothers by the

to $alomon Brothers by Fresenius USA, NMC, Grace and Frese~ius AG, (vii) certain
publicly available information concerning the trading of, and the trading market
for, Fresenius USA Co~non Stock, Grace Co~on Stock and Fresenius AG Ordinary
Shares, (viii) certain publicly available information with respect to certain
other companies that Salomon Brothers believed to be comparable to Fresenius
USA, NMC or Fresenius Worldwide Dialysis and the trading markets for certain of
such other companies’ securities, and (ix) certain p~blicly available
information concerning the nature and terms of certain other transactions that
Salo~on Brothers considered relevant to its inquiry. The information reviewed by
Salo~on Brothers included preliminary versions of the pro forma financial
information of Fresenius Medical Care contained in this Joint Proxy
Statement Prospectus. Salomon Brothers believes that the differences between the
pro forma flnancial information of Fresenius Medical Care contained in this
Joint Proxy Statement prospectus and the preliminary versions of such financial
information reviewed by Salomon Brothers would not have had a ~ateri~l effect on
Salomon Brothers~ analysis. Salomon Brothers also considered such other
information, studiest analyses, and financial, economic, market criteria as it
deemed relevant. In addition, Salomon Brothers discussed the foregoing as well
as other matters it believed relevant to its inquiry with certain officers,
employees and representatives of Freseni~s USA, NMC, Fresenius Worldwide
Dialysis, Grace and Fresenius

     In arriving at its opinion, and in its April 25, 1996 presentation to the
Freseni~s USA Independent Committee referred to below, Salomon Brothers did not
assume any obligations to verify any of the foregoing information and relied on
s~ch information belng complete and accurate in all ~aterial respects. With
respect to the projections as to the future financial performances of Fresenius
USA, NMC, Fresenius Worldwide

                                         52
<PAGE>   77

Dialysis and the estimates of synergies for Fresenlus Medical Care, $alomon
Brothers assumed they had been reasonably prepared o~ bases reflecting the best
currently available estimates and j~dgments of the managements of Fresenius USA,
NMC and Fresenius Worldwide Dialysis, and Salomon Brothers expressed no opinion
with respect to such projections or estimates or the assumptions on which they
were based. S~lomon Brothers did not make or obtain or assu~e any responsibility
for making Or obtaining any independent evaluations or appraisals of any of the
properties or facilities of Fresenius USA, NMC or Frese~ius Worldwide Dialysis.

     While the Fresenius USA I~dependent Co~littee did not perform an
independent review of the financial information, projections and assumptions
provided to Salomon Brothers, Salomon Brothers did review certain financial
information and projections with the Fresenius USA Independent Cor~flittee. When
it accepted Salomon Brothers’ fairness opinion, the Fresenius USA Independent
Cor~nittee was aware of Salomon Brothers’ reliance o~ the information provided by




http://edgar.sec:gov/Arctflves/edgar/data/42872/O000950123 -96-O04024.txt                                     5/19/2009
                Case 01-01139-AMC                 Doc 21763-10            Filed 05/20/09               Page 54 of 474
                                                                                           Page 25 of 29

the managements of Fresenius USA, NMC and FreseniusA~.

      In arriving at its opinioN, Salomon Brothers considered such financial and
other factors as it deemed appropriate ~nder the circumstances including, among
others, the following: (i) the historical and current financial position and
results of operations of Fresenius USA, NMC and Fresenius Worldwide Dialysis;
(ii) the business prospects of Fresenius USA, NMC, Fresenius Worldwide Dialysis
and Fresenius Medical Care; (iii) the historical and current market for
Fresenius USA Cow,son Stock and for the equity securities of certain other
companies that Salomon Brothers believed to be comparable to Fresenius USA,
Fresenius Worldwide Dialysis, NMC or Fresenius Medical Care; and (iv) the nature
and terms of certain other transactions that Salomon Brothers believed to be
relevant. Zalomon Brothers also took into account its assessment of Qeneral
economic, market and financial conditions as well as its experience in
connection with similar transactions and securities valuation generally. NO
limitations were imposed by either Fresenius USA or Fresenius AG with respect to
the investigations made or the procedures followed by Salomon Brothers in
rendering its opinion. However, since Fresenius AG owns a majority of the
fully-diluted outstanding shares of Fresenius USA Co--on Stock and, pursuant to
the Reorganization Agreement, was prohibited from selling such shares, Salo~on
Brothers was not authorized to, and did not, solicit potential third parties
that might have been interested in ac~iring Fresenius USA.

      I~ arriving at its opinio~ SalomoN Brothers understood that NMC is the
target of certain governmental and regulatory i~vestigations relating to the
conduct of its business, which may result in substantial liabilities and
obligations being incurred by NMC in the future, as described in this Joint
Proxy Ztatement-Prospectus under "RISK FACTORS - Risks Relating to Regulatory
Matters." While Salomon Brothers participated with the Fresenius USA Independent
Committee in discussions with the special counsel of the Fresenius USA
Independent Co~ittee with respect to th~ potential outcome thereof, it was not
possible to predict that outcome and Salomon Brothers expressed ~o view with
respect thereto, although, i~ conducting its analysis and rendering its opinion,
it did, with the consent of the Fresenius USA Independent Co~ittee, make
certain assumptions with respect thereto. In addition, in rendering its opinion,
Salomon Brothers assumed, with the consent of the Fresenius USA Independent
Co~ittee, that (i) the Fresenius USA Merger would qualify as a tax-free
transaction under Section 351 of the Code; {ii) the transactions contemplated by
the Distribution Agreement would qualify as a tax-free distribution under
Section 355 of the Code; (iii) following the transactions contemplated by the
Distribution Agreement, Grace would have no material liabilities other than the
liabilities of NMC; (iv) Grace Chemicals and Fresenius AG would perform their
respective obligations (including indemnification obligations) under the
Distribution Agreement and the Contribution Agreement in accordance with their
respective terms; and (v) the Reorganization would not constitute a fraudulent
conveyance or fraudulent transfer under any applicable law and that the




http://edgar.sec.gov/Archives/edgar/dated42872/OOOO950123-96-OO4024.txt                                     5/19/2009
                    Case 01-01139-AMC                 Doc 21763-10            Filed 05/20/09               Page 55 of 474
                                                                                               Page 26 of 29

      Estimated Fresenius Medical Care Public Market Valuation.  In order to
derive an estimated market valuation range for Fresenius Medical Care
stock Salomon Brothers first established estimates of firm value (which includes
both equity and net indebtedness) for each of Fresenius Worldwide Dialysis
 (including Fresenius U$A) and NMC, using both a comparable public market company
analysis and a discounted cash flow {"DCF") analysis, and then added them
together and made certain adjustments to establish an estimate of firm value for
Fresenius Medical Care. Based On a review of certain publicly available
infor~lation and stock market performance of selected publicly traded domestic
and international medical product companles (including firm value as a
percentage of 1995 revenues and the ratio of firm value to each of
price/earnings ratios, 1995 EBITDA, 1995 ZBIT, 1995 earnlngs and certaln
composite published analyst earnings estimates for 1996}, Salomon Brothers
established a reference range for the firm value for Freseni~s Worldwide
Dialysis (including Fresenius USA) of $2.1 billion to $2.5 billion. Applying
similar approach to N~C (except using as comparable companies domestic medical
product companies) resulted in a reference range for the firm value of ~[MC of
$3.95 billion to $4.8 billion.

     using a DCF methodology, Salomon Brothers estimated, for each of Fresenius
Worldwide Dialysis (including Fresenius USA] and NMC, the present value of its
~i]levered free cash flows if it were to perform independently in accordance with
its ~anagement’s projections for 1996 through 2000. Unlevered free cash flow
represents the amount of cash generated and available for principal, interest
and dividend payments after providing for ongoing business operatiol]s. For each
of Fresenius Worldwide Dialysis and ~[MC, Salomon Brothers aggregated (x) the
present value of the projected unlevered free cash flow through 2000 with (y)
the present value of the range of estimated terminal values (representing an
estimate of s~ch company’s value beyond 2000]. Those ranges of terminal values
were calculated by applying multiples of 8x to 10x to Fresenius Worldwide
Dialysis’s estimated ZBITDA in 2000 and multiples of 7.5x to 9.5x to NMC’s
estimated EBITDA in 2000. Using discount rates of 11% to 15% for Fresenius
Worldwide Dialysis and 12% to 14% for NMC, Salomon Brothers computed a range of
firm values of $2.1 billion to $3.0 billion for Fresenius Worldwide Dialysis and
$3.8 billion to $5.0 billion for NMC. Using narrower ranges (8.5x to 9.5x for
Fresenius Worldwide Dialysis and 8.0x to 9.0x for NMC) of terminal multiples and
a 13% discount rate, Salomo~

                                            54
<FAGE>       79

Brothers computed a narrower range of firm values of $2.4 billion to $2.?
billion for Fresenius Worldwide Dialysis and $4.2 billion to $4.6 billion for
NMC.

         Combining the total firm values of Fresenius Worldwide Dialysis and ~{C and




aggregated (x) the present value of the projected unlevered free cash flow




http://edgar.sec.gov/Archives/edgar/data/42872/0000950123 -96-004024.txt                                        5/19/2009
                 Case 01-01139-AMC                  Doc 21763-10            Filed 05/20/09               Page 56 of 474
                                                                                             Page 27 of 29

 Fresenius USA’S estimated EBITDA in 2000. Using discount rates of 11% to 15%,
 Salomon Brothers computed a range of firm values of $538 million to $845 million
 and, ~sing a narrower terminal value range of llx to 13x and a discount of 13%,
 Sa~omoN Brothers comp~ted a narrower range of firm values of $632 million to
 $729 million. Using these ranges, Salomon Brothers computed a present value per
 share of Fresenius USA Co,on Stock of $16.92 to $27.08 (using the broader
 range} and $20.00 to $23.30 {using the narrower range), as compared with the
 reference range Idescribed above) of $20.70 to $25.30 per share of Fresenius USA
 Common Stock for the FMC Ordlnary Shares to be received i~ exchange therefor.

      Precedent Minority Buyout Transactions. Salomon Brothers reviewed selected
 transaetlons since 1984 in which the majority owner of a publicly traded
 subsidiary corporation acquired the remaining public interest either for stock
 of the parent corporationt cash or for mixed consideration ("minority buyo~t
 transactions"). SalomoN Brothers analyzed the premiums of the consideration paid
 to the market price of the subsidiary’s stock o~e month prior to announcement
 for esch of the three types of consideration. $alomon Brothers noted, among
 other things, the median and mean premiums in the stock-for-stock minority
 buyouts were 22.9% and

                                         55
 <PAGE>   80

 26.0% respectively. Applying a range of market premiums from 22.9% to 26.0% to
 the April 19, 1996 market price, the January 5, 1996 market price (one month
 prlor to the a~no~oe~eNt of the Reorganization Agreement) and the weighted
average trading price for the 12 months, 6 months and 3 months ending April 23,
 1996, implied stock-for-stock minority buyout prices of $25.19 to $25.83, $24.27
 to $24.89, $21.08 to $21.61, $24.17 to $24.78 and $24.75 to $25.38,
 respectively. From this, Salomon Brothers established a minority buyout
 reference range for Fresenius USA of $22.00 to $25.00, as compared with the
 reference range (described above) of $20.70 to $25.30 per share of Fresenius USA
 Come.on Stock for the FMC Ordinary Shares to be received iN exchange therefor.

     The foregoing is a sNr~ary of the terms of the presentation by Salo~on
Brothers to the Fresenius USA Independent Co~mlittee on April 25, 1996, including
all material valuation a~alyses performed by Zalo~o~ Brothers in connection
therewith, and does Not purport to be a complete description of s~ch
presentation or of the analyses perfor~e~ by $alomon Brothers in connection with
the preparation of its opinion. The preparation of a fairness opinion is a
complex process involving subjective judgments and is not necessarily
susceptible to partial analysis or s~ary description. In arriving ~t its
opinion Salomon Brothers did not attribute any particular weight to any analysis
or factor considered by it, but rather made qualitative judgments as to the
significance and relevance of each. Salomon Brothers believes that its a~alyses
must be Considered as a whole and that selecting portions of s~ch a~alyses and




 http//edgar sec gov/Archives/edgar/data/42872/0000950123-96-004024.txt                                       5/19/2009
                    Case 01-01139-AMC                  Doc 21763-10            Filed 05/20/09               Page 57 of 474
                                                                                                Page 28 of 29

services: (a)

                                            56
<PAGE>      81

an initial fee of $i00,000 (b) unless the Reorganization shall have been
terminated or withdrawn, or a fee paid pursuant to clause (c) of this paragraph,
a fee of $300,000 per month (less, in the case of the first month, the amount of
the initial fee) payable in arrears for up to five months; plus (c) upon
submission of Salomon Brothers~ opinion to the Freseni~s USA Independent
Committee or, if the Reorganization were terminated or withdrawn or Salomon
Brothers was not otherwise requested to render its opinion, upon Salomon
Brothers having s~bstantially completed the work that was approprlate to prepare
it to render its opinion, an amount equal to $1,500,000 (less all amounts
previously paid pursuant to clauses (a) and (b) Of this p~ragraph}. AS a result,
Salomon Brothers has become entitled to receive aggregate fees of $1,500,000.
Fresenius USA has also agreed to reimburse Salomon Brothers for its
out-of-pocket expenses, including reasonable fees and disbursements of counsel.
Fresenius USA has agreed to indemnify Zalomon Brothers and certain related
persons against certain liabilities, including certain liabilities under the
federal securities laws, relating to or arising out of its engagement.

                                            57




         - NMC will enter into the NMC Credit Agreement and, on the Effective Date,




                                            58




                                        [CHART]




                                           59
<PAGE>      84

CONSIDERATION TO SHAREHOLDERS

     In the Reorganization, Fresenius AG and shareholders of Grace and Fresenl~S
UZA will receive the following consideration:

  Fresenius AG

         - Fresenius Worldwide Dialysis, including all Fresenius USA Common Stock
           held by Fresenius AG or its subsidiaries, will be contributed to
           Fresenius Medical Care in exchange for 35,210,000 FMC Ordinary Shares
           representing approximately 50.3% of all FMC Ordinary Shares outstanding,
           on a fully diluted basis, irmnediately following the Reorganization.




http://edgar.sec.gov/Archives/edgar/dated42872/O000950123 -96.O04024.txt                                        5/19/2009
                 Case 01-01139-AMC                Doc 21763-10             Filed 05/20/09               Page 58 of 474
                                                                                            Page 29 of 29


 Grace Common Shareholders

    - The closing price of Grace Coi~i%on Stock in NYSE composite trading on
      August I, 1996 was $63 1/4 per share.

       Each holder of Grace Co[~lon Stock issued a~d outstanding at the Time of
       Distribution will receive one share of New Grace CorZnon Stock in the
       Distribution.

    - Each holder Of Grace Conm%on Stock issued and outstanding after the Time
      of Distribution will receive one New Preferred Share~

    - Holders of shares of Grace Cow,non Stock issued and Outstanding
      ir~mediately prior to the Effective Time (other than any shares of Grace
      Co~on Stock owned by Fresenius AG or its subsidiaries, Fresenius USA or
      its subsidiaries or any Grace subsidiary, any shares of Grace Con~ton
      Stock held in Grace’s treasury or any shares of Grace Common Stock
      dissenting from the Reorganization} and options with respect to Grace
      Co.on Stock held by employees of NMC will be allocated 44.8% of the FMC
      Ordinary Shares OUtstanding on a fully diluted basis. AS of July 15,
      1996, there were outstanding 92,001,176 shares of Grace Con~non Stock, and
      options with respect to 231,006 shares of Grace Corm~on Stock held by
      employees of NMC (none of whom is an officer or director of Grace). On
      this basis, assuming that there are ~o Grace Cor~mlon Dissenting
      Shareholders and that each option with respect to Grace Co--on Stock held
      by employees of NMC is converted to an option with respect to 3.7 ADSS,
      each share of Grace Conmlon Stock will be converted in the Grace Merger
      into the right to receive approximately 1.013 ADSs, each such ADS
      representing one third of an FMC Ordinary Share.

 Grace Preferred Stockholders

    - Each share of Grace Preferred Stock and each New Preferred Share issued
      and outstanding ig~ediately prior to the Effective Time and will remain
      issued a~d o~tstanding as FNMC stock.

 Fresenius USA COINIIon Stockholders

    - The closing price of Fresenius USA Co--on Stock in AMEX composite trading
      On August i, 1996 was $19 per share.

       Each share of Frese~ius USA Co~mlon Stock issued a~d outstanding
       immediately prior to the Effective Time (other than any shares of
       Fresenius USA ComJnon Stock owned by Grace or its subsidiaries or by
       Fresenius AG or its swbsidiaries, any shares of Frese~ius USA COI~O~




                                        6O




EFFZCTIVE TIME




http://edgm-.sec.gov/Archives/edgar/data/42872/O000950123 -96-O04024.txt                                     5/19/2009
